      Case 1:06-cr-00038-MP-AK           Document 87        Filed 02/01/07       Page 1 of 1


                                                                                          Page 1 of 1


                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                             CASE NO. 1:06-cr-00038-MP-AK

MARK IVAR MYHRE,

      Defendant.
___________________________/

                                           ORDER

       This matter is before the Court on Doc. 81, Motion to Modify Conditions of Release by

Mark Ivar Myhre. After consulting the probation office and the government, the Court

determines that the motion should be granted. Mr. Myhre's conditions of release are modified to

remove the requirement of home confinement and daily curfew between the hours of 10:00 p.m.

and 6:00 a.m. All other conditions of release remain in full force and effect.

       DONE AND ORDERED this 1st day of February, 2007


                                       s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
